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 1   PRISON LAW OFFICE                             BINGHAM, McCUTCHEN, LLP
     DONALD SPECTER Bar No.: 83925                 WARREN E. GEORGE Bar No.: 53588
 2   STEVEN FAMA Bar No.: 99641                    Three Embarcadero Center
     E. IVAN TRUJILLO Bar No.: 228790              San Francisco, California 94111
 3   General Delivery                              Telephone: (415) 393-2000
     San Quentin, California 94964
 4   Telephone: (415) 457-9144
 5   ROSEN, BIEN & GALVAN, LLP                     HELLER, EHRMAN, WHITE &
     MICHAEL W. BIEN Bar No.: 096891               McAULIFFE
 6   JANE E. KAHN Bar No.: 112239                  RICHARD L. GOFF Bar No.: 36377
     AMY WHELAN Bar No.: 215675                    701 Fifth Avenue
 7   LORI RIFKIN Bar No.: 244081                   Seattle, Washington 98104
     SARAH M. LAUBACH Bar No.: 240526              Telephone: (206) 447-0900
 8   315 Montgomery Street, 10th Floor
     San Francisco, California 94104
 9   Telephone: (415) 433-6830
10   THE LEGAL AID SOCIETY –
     EMPLOYMENT LAW CENTER
11   CLAUDIA CENTER Bar No.: 158255
     LEWIS BOSSING Bar No.: 227402
12   600 Harrison Street, Suite 120
     San Francisco, CA 94107
13   Telephone: (415) 864-8848
14
15   Attorneys for Plaintiffs
16                              UNITED STATES DISTRICT COURT
17                              EASTERN DISTRICT OF CALIFORNIA
18
19   RALPH COLEMAN,                            )    No.: Civ S 90-0520 LKK-JFM
                                               )
20          Plaintiffs,                        )    DECLARATION OF ERNEST GALVAN
                                               )    IN SUPPORT OF PLAINTIFFS’
21   vs.                                       )    SUPPLEMENTAL BRIEF IN SUPPORT
                                               )    OF MOTION TO CONVENE A THREE-
22   ARNOLD SCHWARZENEGGER, et al.,            )    JUDGE PANEL TO LIMIT THE
                                               )    PRISON POPULATION
23          Defendants                         )
                                               )    Hearing Date:   June 4, 2007
24                                                  Time:           11:00 a.m.
                                                    Location:       Courtroom 4
25                                                  Judge:          Hon. Lawrence K. Karlton
26
27
28
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 1                                     TABLE OF ABBREVIATIONS
 2   CDCR                     California Department of Corrections and Rehabilitation
 3   DJR                      Daily Jail Rate
 4   EID                      Electronic In Home Detention
 5   EOP                      Enhanced Outpatient Program
 6   FRMSC                    Female Residential Multi-Service Centers
 7   ICDTP                    In-Custody Drug Treatment Program
 8   PSAP                     Parolee Substance Abuse Program
 9   PSC                      Parole Service Centers
10   PV-RTC                   Parole Violator Returned to Custody
11   RMSC                     Residential Multi-Service Centers
12   SASCA                    Substance Abuse Services Coordination Agencies
13   SATCU                    Substance Abuse Treatment Control Units
14   YACA                     Youth and Adult Correctional Agency (predecessor of the California
15                            Department of Corrections and Rehabilitation)

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     DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
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 1   I, Ernest Galvan, declare:
 2          1.      I am a member of the Bar of this Court and a partner of the firm Rosen, Bien &
 3   Galvan, LLP, one of the counsel of record for the plaintiff class (hereinafter “Plaintiffs”). I
 4   have personal knowledge of the matters set forth herein and if called as a witness I could
 5   competently so testify. I submit this declaration in support of Plaintiffs’ Supplemental Brief in
 6   Support of Motion to Convene a Three-Judge Panel to Limit the Prison Population.
 7          2.      For approximately the past three years, I have had participated in and had
 8   primary responsibility for many issues concerned the monitoring and enforcement of remedial
 9   orders in Valdivia v. Schwarzenegger, No. Civ. S-94-0671 LKK/GGH (E.D Cal.), a class
10   action lawsuit concerning parole revocation processes brought on behalf of a class of all
11   California parolees both in and out of prison or jail custody. Before the remedial orders were
12   issued in Valdivia, I worked on preparation of the Valdivia case for trial in 2001 and 2002. I
13   participated in the remedial plan negotiations and drafting that led to the settlement of the case
14   and the entry of the Valdivia Permanent Injunction in March 2004. After March 2004, I have
15   had primary responsibility for negotiation of policies and procedures to implement the
16   requirements of the Valdivia Permanent Injunction, including but not limited to the increased
17   use of remedial sanctions as alternatives to returning alleged parole violators to prison. I had
18   primary responsibility for the Valdivia Plaintiffs’ motion for contempt and an order enforcing
19   the Valdivia Permanent Injunction in April 2005, when the Secretary of the then-named Youth
20   and Adult Correctional Agency (“YACA”) (now California Department of Corrections and
21   Rehabilitation) (“CDCR”) abruptly prohibited the use of remedial sanctions in lieu of parole
22   revocation. After the Court issued an order on June 8, 2005, finding that the cessation of
23   remedial sanctions violated the Valdivia Permanent Injunction, I have had primary
24   responsibility for meeting and conferring with CDCR regarding the reestablishment of
25   remedial sanctions programs. I had primary responsibility for the negotiation and drafting of
26   the April 3, 2007 Stipulation and Order Regarding Remedial Sanctions in Valdivia, which sets
27   forth some initial steps regarding gradual phased reestablishment of some remedial sanctions
28   programs. During the above-referred to negotiations, I have participated in discussions and
                                                  -1-
      DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
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 1   exchanges of documents that have included, among other things, information on available
 2   remedial sanctions programs, the difference between remedial sanctions programs authorized
 3   and actually implemented, the obstacles to implementation, the uses of risk assessment tools
 4   and violation matrixes to inform revocation decisions, and the possibility of early discharge
 5   from parole for some segments of the parole population.
 6          3.      I have reviewed the recent representations made by CDCR officials in court
 7   filings opposing referral to a three-judge panel to limit California’s prison population in the
 8   Plata litigation regarding purported efforts to reduce the population through changes in parole
 9   policy, and increased use of remedial sanctions and alternatives to parole revocation. I have
10   reviewed the following declarations all filed on May 16, 2007 in Plata v. Schwarzenegger, No.
11   01-1351 TEH (N.D. Cal.): Declaration of Scott Kernan In Support of Defendants’ Report in
12   Response to the Court’s February 15, 2007 Order, and Exhibits A and B; Declaration of
13   Deborah Hysen In Support of Defendants’ Report in Response to the Court’s February 15,
14   2007 Order; Declaration of Kathryn P. Jett In Support of Defendants’ Report in Response to
15   the Court’s February 15, 2007 Order; Declaration of Joan Petersilia In Support of Defendants’
16   Report in Response to the Court’s February 15, 2007 Order. Copies of the declarations of Mr.
17   Kernan and of Dr. Petersilia will be attached to the Declaration of Lori Rifkin in Support of
18   Plaintiffs’ Supplemental Brief in Support of Motion to Convene a Three-Judge Panel to Limit
19   the Prison Population as Exhibits J and K, respectively. (On May 21, 2007, substantially
20   similar declarations by the same declarants were filed in opposition to the motion for
21   appointment of a three-judge panel in Armstrong v. Schwarzenegger, Civ. No. 94-2307 CW
22   (N.D. Cal.).) Based on my experience regarding CDCR’s efforts to establish remedial
23   sanctions in Valdivia, I believe that the above listed declarations contain statements regarding
24   the use of remedial sanctions, which, while well-intentioned and sincere, are overly optimistic
25   regarding CDCR’s ability to reduce the prison population through parole reform in a way that
26   could promptly relieve the impact of overcrowding on persons with severe mental illness in the
27   Coleman class. The factual basis for this belief is present in more detail below.
28          4.      The population reduction measures described in the Kernan and Petersilia
                                                   -2-
      DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
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 1   Declarations—the use of risk and needs assessments, violation matrixes, early discharge from
 2   parole, and alternatives to re-incarceration of parole violators, have been the mainstays of
 3   promises and prescriptions for correction reform in California for years. Attached hereto as
 4   Exhibit D is a true and correct copy of Section 7 of the July 1, 2004, report of the Governor’s
 5   Independent Review Panel on Corrections (chaired by former Governor George Deukmejian),
 6   titled “Reforming California's Youth and Adult Correctional System” (hereinafter
 7   “Deukmejian Report”). This report can be found on the internet at
 8   http://cpr.ca.gov/report/indrpt/corr/index.htm. Section 7 is titled “Inmate/Parolee Population
 9   Management.” In addition to former-Governor Deukmejian, the 2004 Review Panel included
10   other highly respected individuals with considerable experience and impressive credentials in
11   correctional administration. The Deukmejian Report makes frequent references to previous
12   parole reform recommendations by similarly constituted blue-ribbon panels, including the
13   “1990 report of the Blue Ribbon Commission on Inmate Population Management,” and the
14   November 2003, report of the Little Hoover Commission, “Back to the Community: Safe &
15   Sound Parole Policies.” (Deukmejian Report at pages 121, 148, 155.) The Deukmejian Report
16   notes that many of the parole reforms it describes were previously set forth on such earlier
17   reports.
18                                       Remedial Sanctions Programs
19          5.      I have reviewed Paragraph 20 of the Declaration of Scott Kernan In Support of
20   Defendants’ Report in Response to the Court’s February 15, 2007 Order in Plata, which
21   includes the following assertion under “Alternative Sanction Programs”: “CDCR has program
22   capacity for 4,175 parolees at an annual cost of $82,648,665.” (Rifkin Dec. Exhibit J at page
23   11.) As described in the detailed discussion below of the history of remedial sanctions
24   negotiations in the Valdivia lawsuit, numbers like this are impossible to understand without
25   knowing whether the numbers claimed are for program slots that actually exist and into which
26   parolees can now be placed, or whether they are for program slots that are authorized but not
27   yet funded or built, or a mix of both. Mr. Kernan’s declaration includes the following
28   qualifying language after his statement of program capacity for “4,175 parolees:” “CDCR
                                                    -3-
      DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
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 1   recognizes that a number of logistical issues prevent these remedial sanction programs from
 2   being filled, however CDCR is committed to addressing and overcoming these obstacles such
 3   that these programs will reach capacity.” (Rifkin Dec. Exhibit J at page 11.) If Mr. Kernan’s
 4   estimate includes a mix of existing and projected program slots, then the impact on
 5   overcrowding cannot be estimated without knowing the timeline on which the projected
 6   program slots will be funded, put out to bid, and actually built. Below is a brief summary of
 7   the types of delays and obstacles that must be overcome before any projected program slots
 8   can have any impact on prison overcrowding.
 9          6.        State Contracting Process. The remedial sanctions programs employed by
10   CDCR rely heavily on services provided under contract with counties and private entities. In
11   the remedial sanctions negotiations in Valdivia, described in more detail below, CDCR
12   representatives have asserted that in the ordinary course of state contracting, the “Invitation For
13   Bid” process requires delays on the order of 4 to 5 months of internal state procedure before an
14   Invitation for Bid can be published to potential bidders, plus 2 to 3 months for the state to
15   evaluate bids.
16          7.        Community Resistance to Contracting with CDCR to Place Parolees. As
17   discussed in detail below, CDCR has been unsuccessful in securing any beds for its principle
18   Valdivia remedial sanction program, the In-Custody Drug Treatment Program (ICDTP), in the
19   states’ most populous county, Los Angeles County. The plan for this remedial sanction
20   program projected 175 beds in Los Angeles County, using county jail facilities. Despite
21   CDCR’s best efforts, the county has not agreed to host this facility. In general, community-
22   based treatment for persons accused of violating parole face significant resistance from
23   communities that do not want such facilities in their backyards. San Bernardino, Riverside,
24   and Orange Counties remained unserved by the ICDTP remedial sanctions programs as of May
25   8, 2007, when Plaintiffs’ counsel in Valdivia last received information on the scope of the
26   program. (See also First Report of Valdivia Special Master, Exhibit J hereto at pages 42-43.)
27          8.        Harmful Effects of the Start-and-Stop Valdivia Remedial Sanctions Process.
28   Below in this Declaration, I present a brief history of the remedial sanctions programs that
                                                      -4-
      DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
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 1   CDCR implemented under the Valdivia Permanent Injunction in 2004, then abruptly halted in
 2   2005, and have been struggling to resume ever since. The Valdivia Special Master’s First
 3   Report to the Court, attached hereto as Exhibit J, notes that the “program has also suffered
 4   repercussions from stopping and starting:”
 5                  In program development, there is always a period of slower use
                    until programs are fully implemented. Part of this is putting
 6                  systems, policies, and procedures in place and part of it is gaining
 7                  trust and belief in the programs on the part of the referring agents,
                    supervisors, and hearing officers. CDCR staff not only needed to
 8                  mend relationships with entities such as the county jails, they
 9                  needed to re-educate and engage DAPO and BPH staff.
     (Exhibit J, First Report of Valdivia Special Master, at page 44.)
10
            9.      Program Exclusions That Limit the Reach of Remedial Sanctions Programs.
11
     The first report of the Valdivia Special Master concludes that exclusionary policies likely are
12
     partly responsible for limited use of remedial sanctions programs. (Exhibit J, First Report of
13
     Valdivia Special Master, at page 43.) CDCR limits the use of remedial sanctions by imposing
14
     across-the-board exclusionary criteria making the program off limits to individuals with certain
15
     criminal histories, registration requirements, accusations of gang participation, or other
16
     characteristics, regardless of individual case factors.
17
            10.     Program Exclusions Directed Specifically At Persons with Mental Illness. In
18
     addition to general program exclusions, CDCR imposes specific exclusions on remedial
19
     sanctions programs that keep out persons with mental illness. These exclusions include
20
     express exclusion of persons at the Enhanced Outpatient Program (EOP) level of care,
21
     exclusions of persons taking psychotropic medications, exclusions of persons who require non-
22
     routine medical care, and exclusions of persons who are receiving or have applied for
23
     government benefits such as Supplemental Security Income (SSI). (See Paragraphs 32 to 35,
24
     below.) Although CDCR has recently agreed to review such exclusions, the review process is
25
     only beginning, and CDCR admits it is likely to be delayed and limited by the fact that existing
26
     exclusions are written into state contracts. (See Paragraph 34, below.) In addition, the CDCR
27
     relies on county governments to provide many remedial sanctions services under compensation
28
                                                           -5-
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 1   schemes that place additional burdens on the counties if they provide non-routine medical care,
 2   including psychiatric care, to parolees in their custody. (See Paragraph 36, below.)
 3
              Remedial Sanctions as Alternative to Parole Revocation under Valdivia v.
 4                                       Schwarzenegger.
 5           11.   In June 2002, this Court, in Valdivia, granted the plaintiff class of parolees’
 6   motion for summary judgment and held that California’s then-existing parole revocation
 7   system was unconstitutional. Valdivia v. Davis, 206 F. Supp. 2d 1068 (E.D. Cal. 2002). In
 8   October 2002, the Court in Valdivia ordered the defendants to develop a remedial plan. In a
 9   status conference statement filed on June 3, 2003, the Valdivia defendants described several
10   steps that Defendants were exploring to address the lack of adequate parole revocation
11   proceedings. A true and correct copy of this June 3, 2003 status conference statement is
12   attached hereto as Exhibit A. This 2003 document includes a step described under the heading
13   “The Defendants Are Exploring Alternatives Besides Incarceration,” which reads in full:
14                 Early in the revocation process, Parole Unit Supervisors are now
                   actively using remedial action other than incarceration for non-
15                 violent and non-serious offenders who have been charged with
                   minor violations. In such cases, alternatives such as continuing
16                 parole or routing parolees through Proposition-36 programs may
                   provide an appropriate alternative to incarceration. District
17                 Administrators, likewise, are reviewing cases for such possibilities
18                 after the eighth day of confinement but before referral to the Board.

19                 Finally, the Board is exploring the possibility of amendments to the
                   California Code of Regulations, title 15, § 2646.1, which sets forth
20                 guidelines for length of confinement for certain parole-violation
                   offenses. Specifically, the Board is assessing whether the
21                 incarceration periods logically and reasonably reflect the violation
                   misconduct that is charged. If it is possible to prescribe more-
22                 reasonable remedial action, it may be possible to increase the
                   number of revocation cases that do not proceed to a full revocation
23                 hearing.
24
25           12.   On May 23, 2007, I checked the status of Title 15, Section 2646.1, referred to

26   above. According to “History” notations in the regulation available using the Cal. Code Regs

27   search function at http://www.oal.ca.gov/, Section 2646.1 was last amended on December 20,

28   2001.
                                                          -6-
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 1          13.     After an initial Valdivia remedial plan was rejected by the Court, the Valdivia
 2   defendants presented a remedial plan in August 2003 that included the use of remedial
 3   sanctions as alternatives to parole revocation. Attached hereto as Exhibit B is a true and
 4   correct copy of the joint letter to the Court of August 20, 2003, attaching the Valdivia
 5   Remedial Plan. This 2003 Remedial Plan recites at page 1 of the “Valdivia Remedial Plan
 6   Policy Outline” (after the flow chart) that “There are approximately 100,000 parole violations
 7   referred to the Board of Prison Terms each calendar year.” It then includes the following text
 8   at the bottom of page 1 and the top of page 2:
 9                  REMEDIAL SANCTIONS
10                  As part of the overall reform of the revocation process, the Parole
                    and Community Services Division of the Department of
11                  Corrections will begin using remedial sanctions/community based
                    treatment placement in January of 2004.
12
13                  Some of the remedial sanctions/community based treatment
                    programs that will be used are the Substance Abuse Treatment
14                  Control Units, Electronic Monitoring, Self-Help
                    Outpatient/aftercare programs, and alternative placement in
15                  structured and supervised environments.
16                  These remedial sanctions are not considered violations of parole
                    because participation in the remedial sanctions program is
17                  voluntary and participation in the remedial sanctions program will
                    not make the parolee presumptively ineligible for discharge at 13
18                  months.
19
                    The goal is to reduce the number of returns to prison for violations
20                  of parole by up to 10% in 2004 and by up to 30% by 2006.

21          14.     The above-cited “Valdivia Remedial Plan Policy Outline,” with its commitment

22   to begin using “remedial sanctions/community based treatment placement” and its prison

23   return reduction goals, was incorporated in the Valdivia Stipulated Order for Permanent

24   Injunction Relief, and issued as a permanent injunction by the Court on March 9, 2004. A true

25   and correct copy of the Valdivia Permanent Injunction is attached hereto as Exhibit C.

26          15.     In monitoring implementation and negotiating with Valdivia Defendants

27   regarding policies and procedures under the Valdivia Permanent Injunction, Plaintiffs’ counsel

28   have repeatedly requested information regarding the number and types of parole revocation
                                                           -7-
      DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
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 1   cases in which the state employed remedial sanctions in lieu of parole revocation. Defendants
 2   have repeatedly stated that their information systems did not track use of remedial sanctions,
 3   and so they could not provide the requested information. Shortly after entry of the Valdivia
 4   Permanent Injunction, however, the July 1, 2004, Deukmejian Report, attached hereto as
 5   Exhibit D, described several remedial sanctions programs, and stated their capacity as of 2004.
 6   These include: Electronic Monitoring: 1000 Units Planned; “Halfway Back”: 792 Beds;
 7   Substance Abuse Treatment and Control Units (SATCUs): 1770 Beds (including 600 in Los
 8   Angeles). (Deukmejian Report at pages 158-159.) This represents a total of 3,562 program
 9   slots in the three principal Valdivia Remedial Sanctions programs.
10          16.     Attached hereto as Exhibit E is a true and correct copy of a document
11   downloaded from the CDCR website at
12   http://www.cya.ca.gov/ReportsResearch/OffenderInfoServices/Annual/PVRET2/PVRET2d200
13   6.pdf, titled “Rate of Felon Parolees Returned to California Prisons Calendar Year 2006.”
14   According to these CDCR statistics, the number of parolees returned to prison on parole
15   violations alone (shown in the PV-RTC column) dropped from 62,355 in 2003 to 58,725 in
16   2004 (a decrease of 5.8%), the first year of Valdivia implementation. In 2005, however, the
17   number of returns to custody for parole violations alone increased to 61,180 (an increase of
18   4.2% over 2004), and then increased again in 2006 to 69,095 (an increase of 12.9% over 2005).
19   (The CDCR’s Spring 2007 Population Report, attached hereto as Exhibit W, gives slightly
20   different figures for parole returns, reporting an increase of 3.9% from 2004 to 2005 and 12.7%
21   from 2005 to 2006. Exhibit W hereto at page 3.)
22          17.     On or about April 8, 2005, after one of a series of meet and confer sessions
23   regarding Valdivia implementation, Plaintiffs’ counsel was contacted by a reporter from the
24   Los Angeles Times regarding a new decision by the California Department of Corrections to
25   abandon the use of remedial sanctions as alternatives to parole violations. This press contact
26   was the first notice Plaintiffs’ counsel received of this decision. We later received a copy of a
27   Memorandum dated April 11, 2005, from the then-Secretary of the CDCR’s predecessor
28   agency, the Youth and Adult Correctional Agency, announcing that the programs announced as
                                                 -8-
      DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
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 1   part of the “new parole model” were now prohibited for use as remedial sanction alternatives
 2   to incarceration. A true and correct copy of the April 11, 2005 Memorandum is attached
 3   hereto as Exhibit F. The Memorandum includes the following statements:
 4                  As you are aware, in 2003 the Parole and Community Services
                    Division, under the direction of the Davis Administration, proposed
 5                  several parole reform programs designed to both provide services
                    to parolees and to reduce recidivism. These programs were
 6                  continued and expanded, and new programs were proposed, at the
                    beginning of our new Administration. These programs have been
 7                  referred to as the “new parole model.” Electronic In-Home
                    Detention (EID), Community Correctional Reentry Centers
 8                  (“Halfway Back” Program) and the Substance Abuse Treatment
                    Control Units (SATCU) programs were clearly designed to provide
 9                  intermediate sanctions in lieu of parole revocation, and were touted
                    as ways to save the state money through reduction in the parolee
10                  return rate to prison. Effective immediately these programs will no
                    longer be used.
11
12   As noted above, during the 2005 calendar year in which this Memorandum was issued, parole
13   violation returns increased 4.2% from the 2004 level, according to the CDCR statistics
14   attached to this declaration as Exhibit E. During the next calendar year, parole violation
15   returns to prison increased 12.9% to reach 69,095, according to Exhibit E.
16          18.     The April 11, 2005 Memorandum claimed that the administration was
17   terminating remedial sanctions because “we have no evidence that these three programs, as
18   originally designed and implemented, increase public safety.” (Exhibit F, hereto at page 2.)
19   the California State Auditor later determined that the stated reason for the decision was not
20   complete, in that the administration failed to use the evidence available to it regarding the
21   impact of these programs. Attached hereto as Exhibit G is a true and correct copy of the
22   November 9, 2005 report of the California State Auditor, titled “California Department of
23   Corrections and Rehabilitation: the Intermediate Sanction Programs Lacked Performance
24   Benchmarks and Were Plagued With Implementation Problems.” The report states at page 2
25   (and in more detail at pages 19-36) that the administration had evidence on the programs but
26   did not analyze it:
27                  In April 2005, the department secretary (formerly the secretary
                    of the Youth and Adult Correctional Agency) terminated the
28                  use of the intermediate sanction programs as alternatives to
                                                     -9-
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 1                 prison because he saw no evidence that the programs improved
                   public safety. Although the department had data regarding
 2                 the parole violators in the programs that it could have used to
                   evaluate whether the benefits it wanted to achieve were worth
 3                 the additional risk to public safety, it did not analyze the data
                   or establish benchmarks such as acceptable failure rates to measure
 4                 the programs’ results.
 5   (Exhibit G at page 2) The Report provides further analysis of the administration’s failure to
 6   use the evidence it had collected regarding remedial sanctions, under the heading “The
 7   Department Had No Basis for Determining Whether the Benefits of Using Intermediate
 8   Sanctions Outweighed the Risk to Public Safety” at pages 19-36. The Report also notes the
 9   many contracting delays that prevented full use of remedial sanctions even before the April 11,
10   2005 termination. (Exhibit G at pages 37-46.)
11          19.    At the time of the April 11, 2005 termination of remedial sanctions, the
12   administration was under political pressure regarding parole policies. Victims’ rights groups
13   had purchased television time for ads that accused the Governor of making parole decisions
14   that endangered public safety. Attached hereto as Exhibit H is a true and correct copy of a
15   printout from The Sacramento Bee’s internet service of an article titled “Parole Overhaul
16   Scrapped,” dated April 12, 2005, describing the political pressures brought against the so-
17   called “new parole model,” and the resulting decision to abandon it.
18          20.    In response to the April 11, 2005 memorandum terminating remedial sanctions
19   programs, Plaintiffs’ counsel immediately demanded that the Memorandum be rescinded, and
20   when Defendants refused to do so, moved for an order enforcing the Valdivia Permanent
21   Injunction. In opposing Plaintiffs’ motion, Defendants took the position that the remedial
22   sanctions portions of the Valdivia Remedial Plan were drafted for informational context only
23   and were not binding on them. Attached hereto as Exhibit I is a true and correct copy of this
24   Court’s June 8, 2005 order in Valdivia, finding, among other things, that the above-quoted
25   April 11, 2005 Memorandum violated the Valdivia Permanent Injunction, and that two of the
26   specific programs the Memorandum prohibited, Electronic In Home Detention, and Substance
27   Abuse Treatment Control Units, “must be made available and be considered throughout the
28   parole revocation process after a parole violation occurs.” (Order at 11:17-19.)
                                                    -10-
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 1          21.    Plaintiffs’ counsel has met and conferred with CDCR officials numerous times in
 2   the two years since June 8, 2005 to attempt to undo the damage done to remedial sanctions
 3   efforts by the April 11, 2005 Memorandum’s prohibition on their use. Restoration of remedial
 4   sanctions has been exceedingly slow, and only partially successful. I have participated in most
 5   of these meetings. CDCR officials have informed us that they rely primarily on contracts with
 6   counties and community-based private service providers to create and operate remedial
 7   sanctions programs. The sudden withdrawal of support for the programs in April 11, 2005
 8   contributed to an atmosphere of distrust, in which such service providers are hesitant to
 9   contract with CDCR in light of the risk that another sudden policy shift will leave them with
10   empty programs. The first report of the Valdivia Special Master, filed with the Valdivia Court
11   on September 14, 2006 (Valdivia Docket No. 1302), stated at page 42:
12                 The elimination of the Substance Abuse Treatment Control Units
                   and the CCRC/Halfway Back program strained relationships with
13                 several county jails. Jails that housed these programs were
                   impacted without notice by loss of revenue and disruption in
14                 staffing and programs. This has made the establishment of
                   programs that require jail beds more challenging for CDCR.
15
16   A true and correct copy of the First Report of the Valdivia Special Master is attached hereto as
17   Exhibit J.
18          22.    In September 2005, CDCR informed Plaintiffs’ counsel that they would replace
19   the Substance Abuse Treatment Control Unit (SATCU) remedial sanctions required by the
20   Valdivia Permanent Injunction with a new program called the In Custody Drug Treatment
21   Program (ICDTP). In a September 2, 2005 policy memorandum CDCR announced that the
22   establishment of 575 program slots statewide. A true and correct copy of the ICDTP
23   memorandum is attached here at Exhibit K. Although the policy memorandum announced
24   575 program slots, the attached detail charts showed that only 264 slots were actually
25   contracted-for. (Exhibit K at Bates No. 10/27/05 264.) These slots were only in certain parts
26   of Northern California and the Central Valley. (Id.) No ICDTP program slots were available
27   in the most populous regions of the state, including the counties of Los Angeles, Orange
28   Riverside, San Bernardino, Imperial, and San Diego. (Id.) CDCR has been trying to secure an
                                                  -11-
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 1   estimated 175 remedial sanctions beds in Los Angeles County since approximately spring 2005
 2   without success. (Exhibit J hereto, First Report of the Valdivia Special Master at page 42.) As
 3   of May 23, 2007, to our knowledge there are still no ICDTP program slots in the above-listed
 4   Southern California counties, except for 24 program slots recently established in Chula Vista
 5   (San Diego). Even the 264 program slots that were established have been underused because
 6   of failures of planning in implementation, including failures to work with field parole agents to
 7   ensure that the headquarters designed programs would meet local needs. (Exhibit J hereto,
 8   First Report of Valdivia Special Master, at page 44.) Parolees from the very populous areas
 9   not served by ICDTP could not be assigned to out-of-county program slots due to strict
10   enforcement of CDCR rules requiring parolees to be placed in the county where they resided
11   prior to conviction. This limit affects women especially because only 30 of the 264 beds were
12   available to women, and these female beds are all located in San Francisco.
13          23.     Also in September 2005, CDCR informed Plaintiffs’ counsel that it would re-
14   establish Electronic In Home Detention as required by the June 8, 2005. Defendants did not,
15   however, reestablish the program at the same level that it existed before the April 11, 2005
16   termination of remedial sanctions. The first report of the Valdivia Special Master stated that
17   the “original Electronic-In-Home Detention program had 1,000 units, while the redesigned
18   program has 500 units.” (Exhibit J hereto at page 42.) The Valdivia Special Master noted that
19   one year after re-implementation, these Electronic-In-Home Detention units were only rarely
20   being used as alternatives to parole revocation. (Exhibit J hereto at page 46.)
21          24.     In July 2006, the Valdivia Special Master gave written notice to CDCR that
22   “Defendants have not succeeded in using remedial sanctions as described in the Stipulated
23   Order for Injunctive Relief, and plans to date do not demonstrate a reasonable probability of
24   meeting that goal.” A true and correct copy of the above-quoted notice is attached hereto as
25   Exhibit L. The notice directed CDCR to provide a new remedial sanctions plan no later than
26   November 30, 2006.
27          25.     CDCR provided a draft plan in December 2006. The plan included funding for
28   only 500 ICDTP program slots (75 fewer than in the 2005 ICDTP plan, and many fewer than
                                                -12-
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 1   the number of program slots in the SATCU program before the April 11, 2005 termination).
 2   Moreover by December 2006, there were still only 288 ICDTP program slots actually in
 3   operation (the 264 from 2005 plus 24 in Chula Vista), and still none in the counties of Los
 4   Angeles, Orange, San Bernardino, Riverside and Imperial. The Valdivia Special Master
 5   informed the parties in a December 13, 2006 conference call that the plan was not acceptable
 6   and set a February 15, 2007 deadline for a new plan.
 7          26.     On February 7, 2007, CDCR presented the Valdivia Special Master with an
 8   “informational” letter and description of remedial sanctions options, with a cover letter stating
 9   that provision of the information “in no way obligates Defendants to provide the programs or
10   services described in the document either through the Valdivia lawsuit or otherwise unless
11   previously ordered by the Court.” A true and correct copy of the February 7, 2007, letter is
12   attached hereto as Exhibit M.
13          27.     In the informational document provided to the Valdivia Special Master,
14   Defendants admitted that:
15                  There have been many obstacles to fully implementing the in-
                    custody ICDTP. County sheriffs have indicated that the reasons
16                  they can’t contract for ICDTP beds include:
                    - overcrowded jail conditions.
17                  - a shortage of deputy jail staff,
                    - and insufficient/non-competitive Daily Jail Rate (DJR) offered by
18                  the State.
19   (Exhibit M at page 13.)
20          28.      On February 16, 2007, CDCR presented the Valdivia Special Master with a new
21   remedial sanctions plan. Again, ICDTP was to be funded at a lower level than even the 2005
22   plan provided for (513 slots instead of 575), and actual ICDTP slots available were still stuck
23   at only 288 statewide, with no slots in Los Angeles, Orange, Riverside, San Bernardino and
24   Imperial County. The new plan, however, included the temporary use of several other
25   programs as remedial sanctions until additional ICDTP program slots could be established. A
26   true and correct copy of the February 15, 2007 draft plan is attached hereto as Exhibit N.
27          29.     The parties in Valdivia have continued to meet and confer on the re-
28   establishment of remedial sanctions programs. Many issues remain in dispute regarding the
                                                 -13-
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 1   scope of such programs. On April 2, 2007, the parties submitted a Stipulation and Proposed
 2   Order to the Court regarding an agreed-upon set of steps and timetable for re-establishing some
 3   remedial sanctions programs by April 2008. A true and correction copy of the Stipulation and
 4   Order—approved by the Court on April 3, 2007--is attached hereto as Exhibit O. The timeline
 5   for implementation of the ICDTP remedial sanctions program is at pages 2-3, and can be
 6   summarized in the following table. Under this timeline, the program need not reach the target
 7   of 1800 program slots until April 2008, and need not even exceed 428 program slots until
 8   November 1, 2007.
 9     Date                        Additional       Total Number of Locations
                                   Program Slots    Program Slots By
10                                 Due By This Date This Date
11
12     As of April 2, 2007                                   288                      Kern, Tulare,
                                                                                      Del Norte, San
13                                                                                    Francisco, Santa
14                                                                                    Clara
       Aug. 1, 2007                150                       438                      Los Angeles
15                                                                                    County
16     Nov. 1, 2007                90                        528                      Orange County

17     Nov. 1, 2007                424                       952                      Anywhere
       Jan. 1, 2008                200                       1152                     Anywhere
18
       Feb. 15, 2008               200                       1352                     Anywhere
19
       April 1, 2008               448                       1800                     Anywhere
20
21         30.     The April 3, 2007 Stipulation and Order provides for “interim” use of an
22   uncertain number of other program slots as remedial sanctions during the timeline described
23   above for expansion of ICDTP. (Exhibit O, Stipulation and Order at page 4.) The programs
24   for “interim” use are the Residential Multi-Service Centers (RMSC), not-yet established, but
25   projected Female Residential Multi-Service Centers (FRMSC), and Parole Service Centers
26   (PSC). The Stipulation and Order provides that ½ of program slots in those programs be
27   “available as remedial sanctions.” (Exhibit O, Stipulation and Order at page 4, lines 12-13.)
28   We have not been able to determine exactly how many program slots this represents because
                                                 -14-
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 1   we have received different estimates from CDCR at different times. When estimating program
 2   slots, CDCR often switches back and forth between the number of slots “authorized” and the
 3   number of slots that actually exist and are available for parolees. As noted above regarding the
 4   ICDTP program, these numbers are often very different: 513 ICDTP beds are authorized; but
 5   only 288 actually exist. For the Parole Service Center (PSC) beds, for example, CDCR’s
 6   February 15, 2007 remedial sanctions proposal (Exhibit N hereto), used the “budgeted”
 7   program size, 1,140 beds, in claiming that 570 beds (1/2 of 1,140) will be “dedicated to the
 8   revocation process.” (Exhibit N at page 4.) In CDCR’s February 6, 2007 “Informational
 9   Report to the Special Master,” (Exhibit M hereto), however, CDCR states as to Parolee Service
10   Centers: “As of January 1, 2007, there are 23 contracts in place with a total of 819 beds
11   statewide,” and thus only 410 such beds would be available for use as remedial sanctions.
12   (Exhibit M at 6.) (We had also received information that only 685 Parole Service Center beds
13   were available.) Based on what CDCR is authorized to provide, the Female Residential Multi-
14   Service Centers (FRMSC) is a 75-bed program. As of May 24, 2007, however, Plaintiffs’
15   counsel are not aware that even one FRMSC bed actually exists.
16         31.     The April 3, 2007 Stipulation and Order includes a modest beginning to target
17   remedial sanctions programs to persons with mental illness. The Stipulation and Order
18   provides at page 7: “In establishing the 1800 ICDTP beds referred to above in Section I.A,
19   above, Defendants shall make every effort to secure 20 beds in each region targeting the needs
20   of parolees with dual diagnoses of mental illness and substance abuse.” There are four parole
21   regions, meaning that CDCR’s commitment extends to using their best efforts to secure 80
22   dual diagnosis beds statewide by April 1, 2008. The parties were not able to reach agreement
23   on any additional efforts to target remedial sanctions programs to persons with severe mental
24   illness, and documented this lack of agreement in the Stipulation and Order at pages 8-9 under
25   “Unresolved Subjects.” (Exhibit O hereto at pages 7-9.)
26
27
28
                                                         -15-
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 1   Exclusionary Criteria The Limit Impact Of Remedial Sanctions of Population of Persons
                                  with Severe Mental Illness
 2
                                                     .
 3          32.     CDCR establishes eligibility and exclusionary criteria for remedial sanctions
 4   programs many of which operate to exclude parolees with mental illness from such alternatives
 5   to parole revocation. While CDCR has agreed to reconsider some of the exclusionary criteria
 6   as part of the April 3, 2007 Stipulation and Order Regarding Remedial Sanctions (Exhibit O,
 7   hereto), this reconsideration process is only now beginning. On May 16, 2007, I received from
 8   CDCR staff counsel a matrix of existing “Inclusionary/Exclusionary Criteria for Valdivia
 9   Remedial Sanctions Programs, May 2007.” A true and correct copy of this matrix is attached
10   hereto as Exhibit P. The table below lists exclusionary criteria regarding persons with mental
11   illness that are found in Exhibit P:
12       Program                              Parolees Excluded From Program
13       Electronic In-Home                    “Parolees classified as Second Strikers, High Risk Sex
         Detention                             Offenders, or Enhanced Outpatient Program
14
                                               participants are ineligible for Electronic In-home
15                                             Detention monitoring.” (emphasis added).

16
         Parolee Substance Abuse               “Currently prescribed psychotropic medication and/or
17
         Program (PSAP)                        in immediate need of medical or dental treatment.”
18                                             “Currently designated as Enhanced Outpatient Program
19                                             (EOP)

20
         Residential Multi-Service             “Parolee is receiving, or has applied to receive,
21       Centers (RMSC)                        Supplemental    Security    Insurance or    other
22                                             governmental subsistence payments”

23
         Santa Clara County Jail In            “Non-routine medical needs*”
24       Custody Drug Treatment
25       Program (ICDTP)
                                               “*Local jail restrictions”
26       Chula Vista County Jail In            “No one requiring psychotropic medication*”
27       Custody Drug Treatment
         Program (ICDTP)
28
                                                          -16-
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 1       Program                               Parolees Excluded From Program
 2                                              “*Local jail restrictions”
 3       Tulare County Jail In                  “No EOP cases”
         Custody Drug Treatment                 “No psychiatric or medical requiring                   on-going
 4       Program (ICDTP)                        transport to special care facilities”
 5
                                                “No cases which require ongoing medical treatment or
 6                                              cases which would be a burden to jail staff”
 7
 8           33.      In addition to these express exclusionary criteria, Exhibit P also states that

 9   program placements in the Substance Abuse Services Coordination Agencies (SASCA),

10   require that the parolee “must have completed one of” several listed in-prison or parole

11   substance abuse programs. (Exhibit P at page 12.) I am informed and believe that many of

12   these prerequisite programs in CDCR prisons have been and remain largely unavailable to

13   persons with severe mental illness, due to express exclusions, and/or the practice of deeming

14   EOP inmates to be “booked” for a full day in the EOP program so that they cannot be assigned

15   to in-prison programs.

16           34.      As noted above, the April 3, 2007 Stipulation and Order requires Defendants to

17   reconsider some of these exclusionary criteria. On May 1, 2007, Plaintiffs’ counsel in Valdivia

18   received a letter from CDCR counsel stating CDCR’s intention to remove some of the

19   exclusionary criteria. A true and correct copy of this May 1, 2007 letter is attached hereto as

20   Exhibit Q. The May 1, 2007 letter makes clear that changes in criteria cannot be immediate

21   because the criteria are included in existing contracts with service providers. The May 1, 2007

22   letter states:

23                    The Stipulation and Order also references the work the State is
                      undertaking to revise ICDTP, EID, RMSC, and PSC policies and
24                    procedures, including but not limited to reviewing and
                      reconsidering exclusionary criteria to make the programs more
25                    widely available. Please note that the proposed memorandum does
                      include some revisions to the RMSC and EID policies.
26                    Exclusionary criteria for ICDTP, RMSC, and PSC are included in
                      provider contracts, and the State cannot change them unilaterally.
27                    The State will request that contractors accept amendments revising
                      the criteria. If contractors are unwilling to do so, the State will
28                    ensure that as contracts expire, to the extent possible the new
                                                           -17-
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 1                  contracts contain the revised criteria. It should be noted, however,
                    that the ICDTP contracts with local jails are individually
 2                  negotiated, and those entities may not always accept the State’s
                    terms.
 3
            35.     On May 8, 2007, my office received from CDCR copies of existing contracts
 4
     between CDCR and providers of some remedial sanctions programs. These documents
 5
     confirm that exclusion of the mentally ill is written into many of these contracts. For example,
 6
     the contract between the state and service providers for the above-referenced Parolee
 7
     Substance Abuse Program (PSAP) at Folsom State Prison repeats the exclusionary language
 8
     referred to above from Exhibit P, excluding parolees at the EOP level of care. A true and
 9
     correct copy of an excerpt of this contract (redacted to remove address information), with a
10
     term though June 30, 2010, is attached hereto as Exhibit R. Similarly, the contracts for the
11
     729 Residential Multi-Service Center (RMSC) beds around the state also repeat the
12
     exclusionary language referred to above from Exhibit P, excluding parolees who are receiving,
13
     or have applied for SSI or other assistance. An example of this language in the contract for 25
14
     beds in Fresno County, with a term through June 30, 2008 (redacted to remove address
15
     information) is attached hereto as Exhibit S.
16
17
                        Daily Jail Rate Procedure for Non-Routine Medical Care
18
19          36.     The First Report of the Valdivia Special Master noted that one of the obstacles to
20   CDCR’s remedial sanctions program is the relatively low rate at which CDCR compensates
21   counties for housing alleged parole violators in remedial sanction beds, compared to the rates
22   available for housing federal prisoners. (Exhibit J hereto at page 42.) Defendants have
23   admitted that the Daily Jail Rate is an obstacle to establishment of remedial sanctions
24   programs. (See Paragraph 27, above.) The California State Auditor also identified the low
25   daily jail rate as a factor impeding use of remedial sanctions. (Exhibit G hereto at page 4.) In
26   addition to the relatively low daily rate, the CDCR’s written policies impose special
27   requirements on counties in order for them to receive compensation for “non-routine medical
28   expenses”, which is defined to include “psychiatry,” in the CDCR’s Daily Jail Rate Manual,
                                                  -18-
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 1   the 2007/2008 version of which can be found on the internet at
 2   http://www.corr.ca.gov/communications/docs/DJRM-07-08.pdf. An excerpt (pages 10-11) of
 3   this Daily Jail Rate Manual is provided here as Exhibit T.
 4                                           Parole Violation Matrix
 5          37.     I have reviewed Paragraph 19 of the Kernan Declaration in Plata regarding the
 6   use of a “Decision-Making Matrix” in which Mr. Kernan states that “DAPO anticipates that a
 7   decision-making matrix will be ready for a pilot deployment by the end of 2007.” (Rifkin Dec.
 8   Exhibit J at page 11.)
 9          38.     Parole violation matrixes are not new, but rather have been included in several
10   previously stated plans for reducing the numbers of persons returned to prison on parole
11   violations. The 2004 Deukmejian Report attached hereto as Exhibit D, includes the following
12   text at Appendix A, page 158, regarding the state’s 2001 plan for a “matrix”:
13                  The New Parole Model
                    In September of 2001 the Parole and Community Services Division
14                  created its new parole model to address recidivism issues. The
15                  model focuses on non-serious/non-violent offenders as they are
                    thought to pose the least risk to the community if they are offered
16                  alternative sanctions to incarceration. The basic components of the
                    model are the following:
17                         •Violation matrix. This is a structured system for providing
18                         clear guidelines to decision making for parole violations.

19          39.     The 2004 Deukmejian Report also includes representations regarding the then
20   imminently expected implementation of a parole violation matrix. Under the heading,
21   “Implementation of the department’s new parole model has been slow,” the 2004 Deukmejian
22   Report states at pages 147-148 regarding the then-current status of the violation matrix:
23                  The violation matrix is another important component of the new
                    parole model. Still being developed by the parole division, the
24                  violation matrix will guide parole agents in making decisions about
                    what sanctions, including treatment alternatives to re-incarceration,
25                  to impose for particular violations. Parole agents will use the
                    violation matrix to match a parolee’s violation against a graduated
26                  range of increasingly strident sanctions. According to officials,
                    changes to the violation matrix are pending approval by the
27                  division’s deputy director. [footnote omitted] It is risky to begin
                    less-restrictive sanctions, such as drug treatment in the place of re-
28
                                                          -19-
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 1                  incarceration, without first using risk-assessment to determine who
                    is appropriate for various programs.
 2
 3          40.     On December 15, 2006, I conducted a meet and confer session in Valdivia with
 4   CDCR officials, during which CDCR officials represented that a decision-making matrix
 5   would be ready for implementation in a matter of weeks or months, and would assist in the use
 6   of remedial sanctions programs. CDCR subsequently dropped discussion of the matrix from
 7   further negotiations, and only reluctantly allowed mention of “investigating the development
 8   and use of a decision-making matrix” in the April 3, 2007 Stipulation and Order Regarding
 9   Remedial Sanctions. (Exhibit O hereto at page 6.) The Stipulation and Order provides for a
10   report of “results of this investigation” no later than July 1, 2007.
11
                     California Penal Code Section 3001 Administrative Discharge.
12
            41.     The Declaration of Scott Kernan states that CDCR believes that it can achieve
13
     the discharge of between 2,000 and 4,000 persons from parole supervision in the next 12
14
     months due to a May 15, 2007 administrative directive to parole agents about who should and
15
     should not be retained for the full parole term under Section 3001 of the California Penal Code.
16
     (Rifkin Dec. Exhibit J at pages 9-10.) Mr. Kernan’s declaration does not predict what, if any,
17
     reduction in prison population would result even if the predicted decrease in parole population
18
     were to occur. Not all persons on parole supervision return to prison. The Declaration of Dr.
19
     Joan Petersilia states that “66% of California parolees return to a California prison within 3
20
     years of their release.” (Rifkin Dec. Exhibit K [Petersilia Dec. ¶ 5].) Assuming that parolees
21
     are equally likely to return to prison during each of the three years, and assuming that persons
22
     who were discharged under Section 3001 were as likely to return to prison as were the general
23
     parole population, only 22% of the 2,000 to 4,000 people whom Mr. Kernan hopes to
24
     discharge would have returned to prison during the next 12 months. That is only a population
25
     reduction of 440 to 880 persons. The actual reduction is likely to be smaller, taking into
26
     account Mr. Kernan’s statement that early discharge is available only for persons “who have
27
     been compliant with the terms of their parole” for a certain period. (Rifkin Dec. Exhibit J
28
                                                          -20-
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 1   [Kernan Declaration ¶ 17].) Such persons are likely to face a lower risk of returning to prison
 2   than does the general population. Hence the eventual impact on the prison population of 2,000
 3   to 4,000 early discharges in the next twelve months is likely to be smaller than the 440 to 880
 4   beds one would predict based on Dr. Petersilia’s estimate of the overall recidivism rate.
 5          42.     The early discharge statute that Mr. Kernan refers to, Penal Code Section 3001,
 6   has been on the books in various forms since 1978. The May 15, 2007 Memorandum attached
 7   to the Kernan Declaration as Exhibit B, reiterates what has already been the law in California
 8   for many years, that persons who serve a certain time on parole (12 months or two years,
 9   depending on the type of sentence served), shall be discharged unless the Board of Parole
10   Hearings approves the CDCR’s recommendation to retain the person on parole. In other
11   words, the Memorandum large tells parole agents to follow the law, which they are presumed
12   to have always done anyway.
13          43.     As is true of the remedial sanctions program, and the parole violation matrix,
14   early discharge from parole has been a mainstay of previously promised parole reforms. For
15   example, the 2004 Deukmejian Report recommended “early discharge of low-risk parolees”
16   using a “risk and needs instrument” like the one referenced in the Kernan Declaration.
17   (Deukmejian Report, Exhibit D hereto at pages 150-151.)
18          44.     Parolees with mental illness are more likely than other parolees to have incurred
19   parole violations that would exclude them from the type of early discharge program described
20   by Mr. Kernan. The Third Annual Report on the Mental Health Services Continuum Program
21   of the California Department of Corrections and Rehabilitation-Parole Division reviews
22   research on recidivism of persons with mental illness and notes that “Mentally ill offenders
23   may be more vulnerable to detection and arrest than non-mentally ill offenders. Therefore,
24   they are more likely to be cycled through the criminal justice system for minor offenses.”
25   (Third Annual Report at page 5.) An excerpt of this report is attached hereto as Exhibit U.
26          45.     In support of a recent Budget Change Proposal for Reception Center EOP
27   funding, CDCR reported the results of research regarding “of Cases Pending EOP Placement.”
28   Attached hereto as Exhibit V is a true and correct copy of the “Justification” section of this
                                                   -21-
      DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
                       THREE-JUDGE PANEL TO LIMIT THE PRISON POPULATION, NO.: CIV S 90-0520 LKK-JFM
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 1   Budget Change Proposal describing the research project. The document notes of the parole
 2   violators studied that “Their parole violations were also likely related to their mental illness,
 3   and treatment planning should address the community maladjustment issues.” (Exhibit V
 4   hereto at Bates No. VAL2007 100011.)
 5          46.     Attached hereto as Exhibit W is a true and correct copy of the “Spring 2007
 6   Adult Population Projections 2007-2012,” downloaded from the CDCR website at
 7   http://www.bpt.ca.gov/ReportsResearch/OffenderInfoServices/Projections/S07Pub.pdf. (The
 8   errors in pagination in the first few pages of this document, i.e., the omission of even-
 9   numbered pages until page 8, are in the original.) The Spring 2007 Adult Population
10   Projections note a “decrease in discharges from parole” during 2006, and project a decrease in
11   discharges from parole for the future. (Exhibit W at page 4.) This document projects further
12   increases in numbers of persons returned on parole violation charges alone (i.e., those without
13   new court-imposed sentences). Tables 7 and 8 of the document, at pages 35 and 36 show
14   movements of males and females, respectively, in and out CDCR institutions for fiscal years
15   2005/06, and projected through fiscal years 2007/08. For each fiscal year, the numbers of
16   persons returned on parole violations alone (shown as PV-RTC, Parole Violators Returned to
17   Custody) have increased or are projected to increase: from 66,359 (60,793 males and 5,566
18   females) in fiscal 2005/2006 to 70,983 (65,019 males and 5,964 females) in fiscal 2006/07, to
19   73,119 (67,019 males and 6,103 females) in fiscal 2007/08.
20          I declare under penalty of perjury under the laws of the State of California and of the
21   United States that the foregoing is true and correct.
22          Executed this 24th day of May 2007 at San Francisco, California.
23
24                                                           By      /s/ Ernest Galvan
                                                                     Ernest Galvan
25
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27
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                                                          -22-
      DECLARATION OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO CONVENE A
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